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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                 CASE NO.     07-2019-SIMONTON

  UNITED STATES OF AMERICA,

  vs.

  ESTEVEM HERNANDES-FILHO              ORDER ON HEARING TO

                                       REPORT RE:COUNSEL

       The above named defendant having appeared before the Court as
  ordered and reported efforts to retain counsel, it is thereupon

  ORDERED as follows:

                  Private counsel
                  appeared in open court and is noted as permanent
                  counsel of record.

                  The defendant requested Court appointed counsel, was
                  found eligible, and counsel will be appointed by
                  separate order.

                  The defendant requested Court appointed counsel but
                  was found ineligible, and shall appear before the
                  Court on
                  at 10:00 a.m. to report regarding his/her further
                  efforts to retain counsel, unless counsel notices a
                  permanent appearance before that date.

          X        The defendant requested further time to retain
                   counsel and shall appear before the Court on
                      1/29/07                 at 10:00 a.m. to report
                  regarding his/her further efforts to retain counsel,
                 unless counsel notices a permanent appearance before
                 that date.

           X      Arraignment reset for January 29, 2007 @10:00.

        DONE AND ORDERED at Miami, Florida this        24   day of JANUARY,

  2007.

  TAPE 07B-2-1055                        s/Patrick A. White
                                        UNITED STATES MAGISTRATE JUDGE
  c. Defense Counsel
     Pretrial Services
     U.S. Marshal
    AUSA
